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                                                     U.S. Department of Justice
                                                     Federal Bureau of Prisons
                                                     Federal Correctional Complex
                                                     Federal Medical Center
                                                     P. 0. Box 1600
                                                     Butner, North Carolina 27509



                                                     May 17, 2022


The Honorable Paula Xinis
6500 Cherrywood Lane
Suite 400
Greenbelt, MD 20770

RE: HENRY, Rondell
Register Number: 64659-037
Docket Number: 8: l 9-cr-00181-PX

Dear Judge Xinis:

        Our staff received the Court's order, dated May 9, 2022, for an additional evaluation pursuant
to the provisions of Title 18, United States Code, Section 4242.

        Mr. Henry's initial evaluator is unavailable to complete the ordered evaluation. As such, the
case was assigned to a new evaluator, who needs to review and become familiar with Mr. Henry as
well as review the extensive discovery provided. In order to provide the Court with a comprehensive
evaluation, I respectfully request that his evaluation period begin on the day of the order, with a 30
day extension due to the factors above. If this request is granted, the evaluation period will end on
July 22, 2022. My staff will attempt to complete the evaluation as soon as possible and have a final
report to the Court within 14 working days of the end date.

        Please be advised we have limited PACER access and therefore request ALL relevant court
orders be emailed to j2richardson@bop.gov to ensure we are compliant with all court directives.

       I thank you in advance for your assistance in this matter. If you are in need of additional
information, please contact Ms. Jasmine Richardson, Health Services Assistant, at extension 5467.




                                                                     , Complex Warden

                                €RANTEi}nENIED (Circle One)
             /Jada,K�
Signature: _____________               _
                                                              5/27/22
                                                        DATE:-----
            District Judge Paula Xinis


cc:    Jessica Caroline Collins/Thomas Patrick Windom, Assistant United States Attorney
       Christian Bryan Lassiter, Defense Attorney
